 Case 3:18-cv-13933-RHC-SDD ECF No. 1 filed 12/17/18        PageID.1   Page 1 of 6




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

__________________________________________________________________

MICHAEL JAAFAR,

             Plaintiff,
                                                   Civil Action No. 2:18-cv-13933
vs.

EQUIFAX INFORMATION SERVICES, LLC,
EXPERIAN INFORMATION SOLUTIONS, INC.,
& TRANSUNION LLC,

          Defendants.
__________________________________________________________________

                              CIVIL COMPLAINT

      NOW COMES Plaintiff, by counsel, for his Complaint for damages against

Defendant Equifax Information Services, LLC (“Equifax”), Experian information

Solutions, LLC (“Experian”) and TransUnion LLC (“TransUnion”) (collectively,

“Defendants”), alleging violations of the Fair Credit Reporting Act (“FCRA”), 15

U.S.C. § 1681 et seq.

                          JURISDICTION AND VENUE

      1.     This Court has federal question jurisdiction because this action arises

out of violations of federal law. 28 U.S.C. §§ 1331. Jurisdiction is also proper

pursuant to 15 U.S.C. 1681p (FCRA) (permitting actions to enforce liability in an

appropriate United States District Court).
 Case 3:18-cv-13933-RHC-SDD ECF No. 1 filed 12/17/18           PageID.2        Page 2 of 6




      2.     Venue in the United States District Court for the Eastern District of

Michigan is proper because Defendants regularly transact business within this

District and is otherwise subject to personal jurisdiction in this District.

                                      PARTIES

      3.     Plaintiff incorporates herein by reference all of the above paragraphs of

this Complaint as though fully set forth at length herein.

      4.     Plaintiff is an individual who resides in Wayne County Michigan.

      5.     Upon information and belief, Defendant, Experian Information

Solutions, LLC (“Experian”), is an Ohio limited liability company authorized to do

business in the State of Michigan through its registered offices at 30600 Telegraph

Road, Suite 2345, Bingham Farms, MI 48025.

      6.     Upon information and belief, Defendant, Trans Union, LLC (“Trans

Union”), is a Delaware limited liability company that authorized to do business in

the State of Michigan through its registered offices at 601 Abbott Road, East

Lansing, MI 48823.

      7.     Upon information and belief, Defendant, Equifax Information Services,

LLC (“Equifax”), is a Georgia limited liability company authorized to do business

in the State of Michigan through its registered offices at 601 Abbott Road, East

Lansing, MI 48823.
 Case 3:18-cv-13933-RHC-SDD ECF No. 1 filed 12/17/18           PageID.3    Page 3 of 6




      8.     During all time pertinent to this Complaint, Defendants were authorized

to conduct business in the State of Michigan and conducted business in Michigan on

a routine and systematic basis.

      9.     The Defendants are each a “consumer reporting agency,” as defined by

15 U.S.C. §1681a(f) of the FCRA. During all time pertinent to this Complaint, the

Defendants regularly furnished consumer reports to third parties for monetary

compensation, fees and other dues.

      10.    During all time pertinent to this Complaint, Defendants acted through

authorized agents, employees, officers, members, directors, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives, and/or insurers.

      11.    Any violations by Defendants as set forth in this Complaint were not in

good faith, knowing, willful, and intentional, and Defendant did not maintain

procedures reasonably adapted to avoid any such violation.

                           FACTUAL ALLEGATIONS

      12.    Plaintiff incorporates herein by reference all of the above paragraphs of

this Complaint as though fully set forth at length herein.

      13.    Plaintiff’s Equifax, Experian and TransUnion disclosures contains

incorrect and incorrect account information regarding one or more accounts,

including GM Financial.
 Case 3:18-cv-13933-RHC-SDD ECF No. 1 filed 12/17/18           PageID.4    Page 4 of 6




      14.      Plaintiff formally disputed the GM Financial tradeline by sending each

of the Defendants letters advising them that their reporting of a past due status and

payment history are incorrect and inaccurate, and requesting correction of this

information.

      15.      Following Plaintiff’s dispute, Defendants failed to reasonably

investigate or otherwise take corrective measures.

      16.      Specifically, Equifax and TransUnion maintaining the same inaccurate

reporting after processing Plaintiff’s dispute. Furthermore, Experian incorrectly

reported the GM Financial account as open, when it was in fact closed.

      17.      Consequently, Plaintiff has suffered damages, including credit

impairment, higher financing charges, and higher insurance premiums.


                          COUNT ONE
     VIOLATION OF FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681
                        Equifax, TransUnion

      18.      Plaintiff incorporates herein by reference all of the above paragraphs of

this Complaint as though fully set forth herein at length.

      19.      The United States Congress has found the banking system is dependent

upon fair and accurate credit reporting. Inaccurate credit reports directly impair the

efficiency of the banking system, and unfair credit reporting methods undermine the

public confidence, which is essential to the continual functioning of the banking

system. Congress enacted the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.,
 Case 3:18-cv-13933-RHC-SDD ECF No. 1 filed 12/17/18           PageID.5   Page 5 of 6




to ensure fair and accurate reporting, promote efficiency in the banking system, and

protect consumer privacy.

      20.    The FCRA seeks to ensure consumer reporting agencies exercise their

grave responsibilities with fairness, impartiality, and a respect for the consumer's

right to privacy because consumer reporting agencies have assumed such a vital role

in assembling and evaluating consumer credit and other consumer information. The

FCRA also imposes duties on the sources that provide credit information to credit

reporting agencies, called "furnishers."

      21.    The Defendants violated 15 U.S.C. §§ 1681(i) by failing to perform a

reasonable reinvestigation of Plaintiff’s dispute, even though Plaintiff provided

Defendants the necessary information regarding the disputed information and

Defendants should have performed a reasonable investigation.

      22.    The Defendants unreasonably refused to take corrective measures

required by the FCRA to correct, update, and/or remove the inaccurate GM Financial

account from Plaintiff’s consumer disclosures.

      23.    The Defendants are the direct and proximate cause, as well as a

substantial factor in causing damages and harm to Plaintiff. Consequently, the

Defendants are liable for statutory damages, punitive damages, attorneys’ fees, costs,

as well as other such relief permitted by 15 U.S.C. § 1681n.

                             PRAYER FOR RELIEF
 Case 3:18-cv-13933-RHC-SDD ECF No. 1 filed 12/17/18          PageID.6   Page 6 of 6




      WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment against Defendant for the following:

Fair Credit Reporting Act Violations

      (a)   Damages pursuant to 15 U.S.C. § 1681n(a)(1) and § 1681o(a)(1);

      (b)   Punitive damages as the Court may allow pursuant to 15 U.S.C. §§

            1681n(a)(2);

      (c)   Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1681n(a)(3)

            and § 1681o(a)(1); and

      (d)   Such other and further relief as this Honorable Court may deem just and

            proper, including post-judgment interest.

                                 JURY DEMAND

      Plaintiff hereby demands jury trial on all issues so triable.



                           Respectfully submitted,

                                 JAAFAR LAW GROUP PLLC


                                 /s/ David Ienna
                                 David Ienna (P77170)
                                 Attorney for Plaintiff
                                 1 Parklane Blvd, Suite 729 East
                                 Dearborn, MI 48126
                                 (313) 918-1706
                                 david@fairmaxlaw.com

Dated:      December 17, 2018
